CaSe:lQ-OO490-vad Doc #:1-1 Filed: 02/11/19 Page 1 of 34

Fi|l in this information to identify your case and this filing: §:. § § E D

Debtor1 p€Y\C 602 a §}/\éolq€(gd
""‘"’"`° “*‘"“° norms ii iii li'= m

(Spouse. i'i iiiir\g) Fimt Namo Middlo Nc¢ne l.thamc

United Swtes Bankruptcy Court for the: t"/€P""/" District of g ¢'bl ¢' 4a

 

 

Case number

 

Ei Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

in each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, fist the asset in the
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct lnformation. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

Describe Each Residence, Bullding, l.and, or Other Reai Estate ¥ou Own or I'lave an lnterest in

 

1 1. |Z|iRoyu own or have any legal or equitable interest in any residence, building, land, or similar property?

No. Go to Part 2.
Cl Yes. Where is the property?

what is the property? Check an that app|y' Do net deduct secured claims or exemptions Put

n Single-family home the amount of any secured claims on Schedule D:

1.1. |:l ouplex or mem-unit building C'°d'~'°’s W"° Ha"° c'a'"'.s S°°”'°d by P'°.p°”y'

 

Si.reet addressl if availabie, or other description

 

 

 

 

n C°"d°"ni"i“m °' C°°Perafive Current value of the Current value of the f
n Nianufactured or mobile home entire property? portion you own?
cl Land $ $
m investment property
' Describe the nature of our ownershi
; City Sta'° Z'P C°d° g ::esham interest (such as fee sii\':iple, tenancy li::;y
er the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

l n Debt0r1 only

§ Coumy n Debtor2 only
z n Debter 1 end Debtor2 only n ;';°e°i:;:r::;|t?o‘:s;:°mmunny property

 

 

3 n At least one of the debtors and another

3 0ther information you wish to add about this item, such as local
' property identification number:

 

if you own or have more than one. list here:

what is the propany? Check all that app|y' Do net deduct secured claims or exemptions Put
n Singie-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

1.2. ._ . . . Crediters Who Heve Clairns Seoured by Property.
§ Street address. if available, er other description n Duplex er _mum umt budd""g sums 4 .. ,E
§ n C°"d°m""lum °' °°°Pe'auve Current value of the Current value of the ;
§ l:l Manufactured or mobile home entire property? portion you own? '
n Land $ 3
n investment property _
n nmeshare Describe the nature of your ownership
City state zlP code interest (such as fee slmpie, tenancy by
cl Other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
n Debtor 1 only

 

 

Couniy n Debtor 2 only
n Debt°r 1 and Debl°" 2 °l‘lly n Check if this is community property
§ n At least one of the debtors and another (S€e il'lel’uCiiOnS)

Other infonnat|on you wish to add about this item, such as local
property identification number:

 

Ofiicial Form 106AIB Schedule AIB: Property page 1

CaSe:lQ-OO490-vad Doc #:1-1 Fiied: 02/11/19 Page 2 of 34

Debtor 1 W D §(W y Case number mmi
Fi Name Middie N'eme Lcai Na

 

 

Whaf ls the Pr°Peny? Check all that applv~ co nor deduct secured claims or exemptions Pui

 

 

 

 

 

 

 

 

 

 

- _ - the amount of any seci.rred claims on Schedule D:
1»3- cl Smg|e family h_°m? _ ' CrerFiors Who Heve Cier'ms Secured by Property. §
Street address. if available, cr other description n Dupiex or mu|t\-unit building §
cl Cond°min§um or cooperative Current value of the Current value of the §
entire ro ? ortion ou own? z
n Manufactured or mobile home p petty p y §
m Land 5 $ ,
, n investment property f m §
` - . Describe the nature o your owners p l
» c slate ZlP C d
`, ny o e g T'meshare interest (such as fee simple, tenancy by §
; O"‘er the entireties, or a life estate), if known. §
§ Who has an interest in the property? Check one.
C n Debtor 1 only
amy El Debtor 2 only §
Ei senior 1 and senior 2 oniy C| check ir this is community property v
n At least one of the debtors and another (See mstrucu°ns) i
Other information you wish to add about this item, such as local ;
property identification number: §
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ l l 169
you have attached for Part 1. Write that number here. ...................................................................................... ')

 

 

 

 

 

 

§§ ….,.¢.i.u§ ,.1. ...,…W_.i.…, s.¢…..`../~. `,._._. ,w. ..Wa . ....` …, `..w…»§…...…§

5
Describe Your Vehicles

; Do you own, lease, er have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicle, also reportith Schedule G: Executory Conlracts and Unexpired Leases.

j 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

se

 

 

 

 

 

 

 

3_1_ Make: ’l’ vyhas an lm°rest m the P'°P°"W? check °“°- Do not deduct secured claims or exemptions Put §
the amount of any secured claims on Schedule D:
Mode|: T(Lo\‘{f il\@ 6 n Debt°r 1 only Credirors Who Heve Ciei'ms Secured by Propedy. §
Debtor 2 only ~.-~i~..-`ri\m-".i~......,..m,...,,.»“~.,....r,_._.-~,~,.....~,_*.,¢,...N~» . ~~\ …,.`:
Y : D §
ear 0 n Debtor 1 and Debwr 2 only Cuti;rent value o'; the Currti;ent value of 1t,he §
APpl`OXimate mileagef MliD_ n At least one of the debtors and another en re property po on you own §
Other information: q
El Check if this is community property (see $ Q') q 5 $ { 5 l 0 0 0 §
instructions) §
§
if you own or have more than one, describe here: j
l f
3.2_ Make: j a Wh has an lm°"°st m the P'°P°"ty? che¢k °"e- Do net deduct secured claims or exemptions Put 3
a @ D b 1 l the amount of any secured claims on Schedule D:
Modei: ge n ° t°' °n y Cieditors Who Heve Clai‘ms Secured by Properly. §
Debtor 2 oni ~
Yea": y Current value cf the Current value of the §
q 10 n Debtor1 and Debtor2 only enure property? portion you own? §
§ Appr°X'mate m"eage: -£)_)m- a Ai least one of the debtors and another §
§ Other infennation: $ q to 50 $ Z t §§ 0 0
f n Check if this is community property (see -i_-}__ §

instructions)

 

 

 

Ofiiciai Form 106A/B Schedule A!B: Property page 2

Case:19-00490-vad

SZM/?//

 

Who has an interest in the property? Check one.

Debtor 1 )/9.&4'.¢1#’ 0
'l=liltt mmo Midclo lime l.m NomoV
3,3, Make:
lvlotiel; El Debtor 1 only
Year. n Debtor 2 only

Approximate mileage:

Other infonnation:

 

 

 

 

Make:
Modei:

Year:

3.4.

Approximate mileage:

Other infonnalion:

 

 

 

 

n Debtor 1 and Debtor2 only
m At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor 1 only

n Debtor 2 only

m Debtor 1 and Debtor2 only

Cl At least one ortho debtors end another

n Check if this is community property (see
instructions)

Case number irrlrrrowrn

+'~»mw»

Doc #:1-1 Filed: 02/11/19 Page 3 of 34

Do not deduct secured claims or exemptions Put 1
the amount cf any secured claims on Schedule D: §
Creditars Who Have Cleims Secured by Property.» §

 

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put §
the amount of any secured claims on Schedule D: §
Credltors.Who Have Ciaims Secured by Property. ,

 

Current value of the Current value of the t
entire property? portion you own?

‘ 4. Watercraft, alrcraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
§ Examples: Boats, trailers. motors. personal watercrafi, fishing vessels, snowmobiles, motorcycle accessories

Et'tl/No

El Yes

4.1_ Make:
Modei:
Year:

Oiher information:

 

 

 

 

if you own or have more than one, list here:

 

 

 

 

Who has an interest in the property? Check orle.

n Debtor 1 only

El Debtor 2 only

n Debtor 1 and Debtor2 only

n At least one of the debtors and another

l:l Check if this is community property (see
instructions)

me came

Do not deduct secured claims or exemptions Put § §
the amount of any secured claims on Schedule D: § :_
Credlii:lrsv Wno.Have Clalms Secured by Froperiy. §

 

l
¢1».,~.

Current value of the Current value of the :,
entire property? portion you own?

$ $

Do not deduct secured claims or exemptions Put

 

 

 

4 2 Make: Who has an interest in the property? check ono.

' ' n D m 1 l the amount of any secured claims on Schedule D: t §

Modei: n e °' °" y creditors wrro Hovo claims secured by Fropeny.
o bi l N.- ,
Year? e or 2 on y Current value of the Current value of the 3
n Debtor 1 and Debtor2 only enter property? portion you own? j
Othe' '"f°'mat'°n: l;l At least one of the debtors and another
l
l
n Check if this is community property (see $ $ `
instructions) §

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages $ ' §
you have attached for Part 2. Write that number here ................ ........... .. -) ______`

 

 

 

 

 

Ofiiclal Form 106A/B

Schedule Ale Property

page 3

CaSe:lQ-OO490-vad Doc #:1-1 Filed: 02/11/19 Page 4 of 34

Debtor 1
Firtharne

§:Mm:\'./

54%/.,,%

Lall Nam€

0

Middlo Namo

Case number (irknm)

Describo your Porsonal and l-lousehold items

 

Do you own or have any legal or equitable interest in any of ther{oll`owing items?

§
1

§ 6. Household goods and fumlshlngs
gay/eac Major appliances, fumiture, linens, china, kitchenware
No

Current:~vaiue of. the §
portion you own? - §
Do not deduct secured claims
or exemptionsl ' -

 

\:l Yes. Describe.........

 

s D,DD

 

 

7. Electronlcs

Examples: Televisions and radios; audio, video. stereo. and digital equipment; computers. printers. scanners; music
collections; electronic devices including cell phones. cameras. media players, games

No

 

El Yes. Descn'be ..........

 

000

 

 

§ a. Co||ectlb|es of value

Examples: Antiques and tigurines; paintings, prints. or other artwork; books. pictures, or other art objecis;
stamp, coin, or baseball card coilections; other collections, memorabi|ia, collectibles

NO

 

L_.l Yes. Describe ..........

 

 

 

: 9. Equipment for sports and hobbies

Examples: Sports. photographic exercise, and other hobby equipment bicycles. pool tables, golf clubs. skis; canoes
and kayaks; carpentry toois; musical instruments

No

 

Yes. Describe ..........

 

 

 

10. Fi|'eal’m$

§)?Ihples: Pistols, rilies, shotguns. ammunition, and related equipment
N

0

 

a Yes. Describe ..........

 

 

 

‘ 11. C|othes
Examples: Everyday clothes. furs. leather coats, designer wear. shoes, accessories

 

am
Yes. Describe ..........

 

ClD\ll/\€.€> [ SWQSEMM

 

 

§ 12. Jeweiry
` Examples: Everydayjeweiry1 costume jewelry, engagement rings. wedding n'ngs, heir|oom jewelry. watches, gems.

go|d, silver

 

§'w"
Yes. Describe ..........

 

 

 

a 13. Non-farm animals

§?{q.)les: Dogs, cats, birds, horses
NO

l

\Li€d(\m@i ,Q'mc\ /L/OC\¥CMS
J \..J 1

 

Cl Yes. Describe ..........

 

 

 

No

§ wyather personal and household items you did not already list, including any health aids you did not list

 

El Yes. Give specinc
information ..............

 

 

: 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

» for Part 3. Write that number here .........

Oflicial Form 106A/B

 

 

 

 

Schedule AIB: Property

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 5 of 34

Debtor 1 §”&"C&/ [? §/%{/Mf

Firs{Nomo Middia Nnme l.aat Narn

messribe ¥our Financlal Assets

§ Do you own or have any legal or equitable interest in any of the following?

‘: 16. CBBh

Examples: Money you have in your waiiet, in your home, in a safe deposit box, and on hand when you file your petition

§€;;

Case number (rrknowm

 

j 17. Deposits of money

Examples: Checking, savings, or other financial accounts; certiticates of deposit shares in credit unions, brokerage houses,

and other similar institutions if you have multiple accounts with the same institution, list each.

E'W
Yes ..................... institution name:

17.1. Checking account t L:)Ni\< %,Zd€%v n /(

Current value of the

portion you own? ',
Do not deduct secured claims
or.exemptions.

000

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$
17.2. Checking amount $
17.3. Savings account $
17.4. Savings account $
17;5. Certi&cates cf deposit $
17.6. Other financial account 5
17.7. Other financial account $
17.8. Olher financial account 5
17.9. Other financial account 5
l 18. Bonds, mutual funds, or publicly traded stocks
§ Examples: Bond funds, investment accounts with brokerage iinns. money market accounts
No
g Yes ................. institution or issuer name:
19. Non-pubiiciy traded stock and interests in incorporated and unincorporated businesses, including an interest in
agr;}LC, partnershlp, and joint venture
No Name of entity: % of ownership:
n Yes. Give specific O% % $
information about Oo/
them. ° % $
0% % $

 

Oiiicia| Form 106AlB Schedule AIB: Property

page 5

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 6 of 34

Debtor 1 Fh?Wm W D § 4 ijij Case number miami

Middio Namo Lact Nem§

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes. and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

NO

n Yes. Give spacing issuer names
information about
them .......................

 

 

 

21. Retirement or pension accounts
' Examples: interests in lRA, ER|SA1 Keogh, 401(k), 403(b). thrift savings accounis. or other pension or profit-sharing plans

§'/‘°
¥es. List each

 

 

 

 

 

account separately Type of account institution name:
401(k) or similar pian: {;/.\ (_§Q\ \ `\'\|f `-:Y\\(P(W`r }’Y\€ Y'\’|
Pension pian:
|RA:
Retirement account
Keogh:

 

Addiiiona| account

 

Additiona| account

 

22. Security deposits and prepayments
’ ¥our share of aii unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landiords. prepaid rent. public utilities (eiectric. gas, water). telecommunications
companies, or others

am

E/Y;; .......................... institution name cr individua|:

 

 

 

 

 

 

 

 

 

ill

 

Eiectric: 5
Gas: 5
Heating oi|: 5
Security deposit on rental unit W [DH! A)/i{l£ f L`cd A\H; 5
Prepaid rent 5
Teiephone: $
Water: s
Rented furniture: $
Other. $
23. Ann ities (A contract for a periodic paymenth money to youl either for life or for a number of years)
' E/No
n Yes .......................... issuer name and description:
$
$

 

Ofiicial Form 106A/B Schedule AIB: Property

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 7 of 34

Debtor 1 § .(J¢/ 0 §A¢I ,/W/ Case number annum

F' t Name Middie`Name v i§st Name

 

l 24. interests in an education iRA, in an account in a qualified ABLE program. or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1). 529A(b). and 529(b)(1).
Nc

n Yes """""""""""""""""" institution name and description Separate|y file the records of any interests.11 U.S.C. § 521 (c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
‘ yisabie for your benefit
N

o §

 

n Yes. Give specinc
information about them.... $

 

 

 

v 26. Patents, copyrightsl trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites. proceeds from royalties and licensing agreements

No

Cl Yes. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
yies: Buiiding permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

 

 

 

 

NO :
n Yes. Give speciiic `
information about them.... $
f Money or properly owed to you? '» ` b ' ` current value of the
portion you own?
v Do not deduct secured
claims or exemptions ’

: 28.1['ajxefunds owed to you
1 No

 

n Yes. Give specific information Federa|.
about them, including whether `
you already filed the returns Slate:
and the tax years .......................

Locai:

 

 

 

f 29. Family support

Examples: Past due or lump sum aiimony. spousal support child support, maintenance divorce settlement property settlement
No

n Yes. Give specific information ..............

 

Alimony: $
Maintenance: $
Support: $
$
$

DiVOi’CB Sem el'|'i ent

 

 

Property settlement

 

j ao. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick payl vacation pay, workers' compensation,
E/ Social Security benefits; unpaid loans you made to someone else

No

 

n Yes. Give specific information ...............

 

 

 

Ofiioia| Form 106AIB Schedule AIB: Property page 7

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 8 of 34

Debtor 1 §lgdv\t’.¢/ D § M/¢V/ Case number miami

Fi¢i Name Middio Name Last Naan

, 31. interests in insurance policies
;ra}ples: Heaith. disability, or life insurance; hea|ih savings account (HSA); credit, homeownefs, or renter's insurance z
N

g
0

Cl Yes. Name the insurance company

Company name: Beneticiary: Surrender or refund value:
of each policy and list its value.

 

 

 

32. Any interest in property that is due you from someone who has died

§ if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, cr are currently entitled to receive
prop rty because someone has died.

No
n Yes. Give specific information ..............

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$
f 33. Ciaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
' Ex ples: Accidents. employment disputes, insurance claims, or rights to sue
No
m Yes. Describe each claim. ....................
$
1 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims
No
m Yes. Describe each ciaim. ....................
5
l §
l ssyiinanclai assets you did not already list
' No §
l n Yes. Give specific information ............ s
j 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 0
for Part 4. Write that number here ........ .................................................... ') $_LM_

 

 

 

wecribe Any Business-Reiated Property You Ov\m or Have an interest ln. List any real estate in Part 1.
374 i‘)So/ypu own or have any legal or equitable interest in any business-related property?
No. soto Part 6. "

n Yes. Go to line 38.

 

 

 

 

Current value of the
portion you own? l
Do not deduct secured claims §
or exemptions l
38.l;}ounts receivable or commissions you already earned
No l
El Yes. Describe ....... L §
i

39. Offic equipment, furnishings, and supplies
§ Ex pfes: Business-reiated computers. software, modams, printers, copiers, fax machines, nigs, telephones, desks. chelrs. electronic devices
§ No

 

n Yes. Describe ....... §§

 

 

Offlciai Form 106AlB Schedule AIB: Property page 8

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 9 of 34

a t /
Debtor 1 ` rdr/.('<¢¢/ 9 j /¢W/¢" Case number lim-rml

F` Name Middlo Name Lmt Na)n'c

 

§ 40.1\;?nery, iixtures, equipment, supplies you use in business, and tools of your trade

 

 

 

 

NO
Cl Yes. Describe ....... k
41. lg?éory
_ No
Cl Yes. Describe ....... §$

§

 

4 42.inmtefsts in partnerships or]oint ventures
N

o
cl Yes. Describe .......

 

 

Name of entity; % of ownership;
% $
% $
% $

 

» 43.C§tomer lists, mailing iists, or other compilations
: No

n Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41A))?
n No

 

 

 

 

 

 

 

 

 

0 ¥es. Describe ........ $

M.Ybusine$-re|ated property you did not already list

t No

l Cl Yes. Give specific $

f` information .........

f $
$
$
$
$

 

 

§ 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ § )
, for Part 5. Write that number here -)

 

 

 

Describe Any Farm- and Commercial Fishing-Related Froperty You Own or Have an interest ln.
if you own or have an interest in farmland, list it in Part 1.

 

46. Yéu ow_n or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
L`.l Yes. co to line 47.

 

1 Current value of the
portion you own? » ;
4 Do not deduct secured claims z
~ or exemptions
§ 47. Farm animals
§ Exa Ies: Livestock, poultry, farm-raised fish
No
El Yes .........................
$

 

 

 

 

Ofiicial Form 106AlB Schedule AIB: Property ' Page 9

 

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 10 of 34

/~` 9 g /
Debtor 1 /`//@#'-"4’-/ Sé/ /¢’4/ Case number lukn¢wnl
i.m

Fir£t Name Mlddlo Name

4a. Cro s-elther growing or harvested

NO

n Yes. Give specific
information ............ $

 

 

§ 49. i:uagn and fishing equipment impiements, machinery, fixtures, and tools of trade
~' No

§ Cl Yes ..........................

 

 

 

 

l so. Farm and fishing supplies, chemicais, and feed

Et’l~lo
n Yes ..........................

 

 

 

l 51.An ann- and commercial fishing-related property you did not already list
` No

n Yes. Give specific
information ............ $

l 52. Add the dollar value of ali of your entries from Part 6, including any entries for pages you have attached $ ge § ` 0 0

for Part 6. Write that number here ')

 

 

 

 

 

 

 

 

mescribe All Property You Ovlrn or Have an interest in That You Did Not List Above

 

» 53. Do you have other property of any kind you did not already list?
§'xe?uies: Season tickets, country club membership
N

 

o
n Yes. Give specific
information ............

 

 

 

 

 

 

l 54.Add the dollar value of ali of your entries from Part 7. Write that number here 9 $_Lw_

 

 

§
List the Totais of Each Part of this Form l

§ 55.Part1:Totai real estate, iineZ .................................. .................................................................. 9 1 $_U‘_DO__

. 56.Part 2: Total vehicles, line 5 $ ;E§ §§ §)Q g
57. Part 3: Total personal and household items, line 15 $ § 2/®

 

 

 

 

l sa.Part 4: Total financial assets, line 36 $ l 21 w l

§ ss. Part s: Totai business-related property, line 45 s f ,» . OVD

60. Part 6: Total farm- and fishing-related property, line 52 $ l ) ' 013

: sl. Part 1: Totai other property not iisiad, line 54 + $ [`) l 0 0
ez.Totai personal prcperty. Add lines 56 through 61. .................... $ 34 3150 ’ DQopy personal property total 9 ;+ $ § §Z/¢ 550 ' j _

 

 

 

 

 

g ea. rural orall properly on schedule Als. Add line s_s + line 62. ' ..... " ________ s §§ //¢ j,szd

 

 

 

 

official Form 106AlB schedule A/B: Property Paee 10

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 11 of 34

Fi|| in this information to identify your case: §: 513 E D
Debtor1(_€nce£ §he [O[/(QLCJ ' m

nl Name Middle Name Last Name

name ZBI‘JFEB ll ilHl»-l=Bl

(Spollse. ll flling) Fint Name Middle Name LaslName

united sales eankrupicy courier me W$S E" Disirici of g r`céf 4,4 ‘,’t., ,}ilif L iii _..-` \/iYLL ti. ilt~.§i "ii'§

 
   

 

"A

'l"l"(i\;}

 
      
  

ir ri _“i"~’ 123

.a »i ElllL~’ l l

b " ?,;|m ` El Check ifthis is an
amended filing

  

Case number
(ii known)

 

 

 

Officia| Form 1060
Schedule C: The Property You Claim as Exempt luna

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct information

Using the property you listed on Schedule A/B: Property (Ofticla| Form 106A/B) as your source, list the property that you claim as exempt. lf more
space is needed, fill out and attach to this page as many copies of Part 2.' Addi'tional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you clalm. One way of doing so is to state a
specific dollar amount as exempt. Alternativeiyl you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory |lmlt. Some exemptions-such as those for health alds, rights to receive certain benefits, and tax-exempt
retirement iunds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property You Claim as Exempt

1. Whlch set of exemptions are you claiming? Check one onIy, even if your spouse is filing with you.

§}ou are claiming state and federal nonbankruptcy exemptionsl 11 U.S.C. § 522(b)(3)
You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you listen Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the v An‘ioui'it of the exemption you claim Speoific laws that allow exemption
Schedule A/B that lists this property portion you own ' " '

Copy the value from Check,onl'y one box for each exemption
Schedule A/B 1

CieuuMii_/M$ iam us pine

Line from n 100% of-fair market value, up to
Schedule A/B: any applicable statutory limit

law iiian D$AL ii

Line from m 100% of fair market value, up to

 

 

Schedule A/B:':LL any applicable statutory limit
Brief

description: 5 cl $

Line from |:l 100% of fair market value, up to
Schedule A/B: __ any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(:?lect to adjustment on 4/01/19 and every 3 years alter that for cases illed on or after the date of adjustment.)
N

o
El \§/s/Did you acquire the property covered by the exemption within 1,215 days before you med this case?

NO
n Yes

Ofiicia| Form 1060 Schedule C: The Property You Clalm as Exempt page 1 of_

CaSe:lQ-OO490-vad Doc #:1-1 Filed: 02/11/19 Page 12 of 34

 

 

 

 

 

/\
Debtor 1 ?‘MG€/ 0 s Ae/[¢I’/ Case number grimm
Flrst mo Mlddla Name Last Nal'rlb
Additional Page
Brief description of the'property and line Current value of the l amount of the exemption youclalm Spoclfio laws that allow exemption
on Schedule A/B that lists this property portion you own
` ' ' ' ' Copy the value?from - j ': Check onlyone box for each exemption / .
Schedule A/B 7 ; ,
q
Bn'er ' v z §§ d
descriptions Ll(}#""e© // 3110 $ Z §§ n $ w
line from ' ~ m 100% of fair market value. up to
Schedule A/B_. any applicable statutory limit

geise;ription: wl ;j § nq $ 150 n $ / 6 8
Line from wci la 5 n 100% of fair market value, up to
Schedule A/B; _’l any applicable statutory limit

a f law aaa m)” ‘ anna
l

description:
Line from El 100% of fair market value, up to

Schedule A/B: ___ Ch -{ J_ any applicable statutory limit

Brief }?£n.lg[ flauij 5 300 133 300

 

 

 

 

 

 

 

 

 

 

 

 

description:

Line from El 100% affair market value, up to ,
Schedule A/B: any applicable statutory limit
Brief

description: $ n $

Line from m 100% of fair market value, up to
Schedule A/B: _-_ any applicable statutory limit
Brief

description: 5 n $

Line from n 100% of fair market value, up to
Schedule A/B: __ any applicable statutory limit
Brief

description: $ n $

Line from n 100% of fair market value, up to
Schedule A/B,- any applicable statutory limit
Brief

description: $ m $

Line from n 100% of fair market value, up to
Schedule A/B: -_-_ any applicable statutory limit
Brief

description: 5 n $

Line from Cl 100% affair market value, up to
Schedule A/B; __ any applicable statutory limit
Brief

description: $ n $

Line from n 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief

description: 5 n $

Line from Cl 100% of fair market value, up to
Schedule A/B: _ any applicable statutory limit
Brief l

description: 5 n $

Line from |:l 100% of fair market value, up to
Schedule A/B; '_' any applicable statutory limit

Oflicial Form 1060 Schedule C: The property You Clalm as Exampt page 2___ 0f_

CaSe:lQ-OO490-vad Doc #:1-1 Filed: 02/11/19 Page 13 of 34

ease

20l9 F`EB i\ eli l-’J '= G l

(Spouse.itn|ing) Fir¢tmma
. _ . ,,~ w _
united states eani<ruptcy countorme: g‘,¢)€iit¢"‘\ District of gi"¢(i 611 ‘i‘j‘»}" ,L,",r§ "
3. .1?'\ r,

Case number `t,
lli knownl

Fill in this information to identify your case:

Q@N§[iC@/Z

Debtor 2

6

Middic Name t Nlmc

 

Middio Name i.o¢t Name

 

n Check if this is an

 

 

amended filing

Official Form 106D
Schedule D: Creditors Who Have C|aims Secured by Property

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
informationl lf more space is needed, copy the Additional Page, fill lt out, number the entries, and attach lt to this form. 0n the top of any
additional pages, write your name and case number (lf known).

12115

1. Do any creditors have claims secured by your property?
m No. Check this box and submit this form to the court with your other schedulesl You have nothing else to report on this form.
El Yes. i=iii in aii ofthe information beiow.

List Aii secured claims

2. List all secured claims. if a creditor has more than one secured claim, list the creditor separately 7 H*:w
for each olaim. lf more than one creditor has a particular claim, list the other creditors in Part 2. * ”
As much as possible. list the claims in alphabetical order according to the creditors name

:'330£0@¢5€ mata ii

Creditors Name

3 ct

Sfl’e€t

  

Describe the property that secures the clalm:
C ct fL / V@ h t 0 l e/

As of the date you file, the claim is: Check ell that apply.
n Contingent

 

 

 

 

Niimber

twa

 

`@{\`l@l'\…e n`&>

Lctnaii\c ml Ll€§€ tt

city state ztp code

Who owes the debt? Check orte.

n Debtor1 only

[:l Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

Cl Check if this claim relates to a

community debt _ Z`
Date debt was incurred _;D /

El liquidated
E)ol;puted _ velma l a

Nature of llen. Check all that apply.

n Statutory lien (such as tax lien, mechanic’s lien)
m Judgment lien from a lawsuit
El other (inciutiing a right to arisen

n An al reement you made (such as mortgage or secured

Last 4 digits of account number __

Wg§ tiel'ttr¢ri@_ct CC’(‘\

 

.H

 

 

 

 

 

 

 

 

 

 

 

 

 

Describe the property that secures the claim: $ 5
creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
n Contingent
|Il unliquidated
City Stale ZlP Code n Dispuwd
Wh° owes the debf? Check °ne- Nature of lien. Check all that apply.
n Debt°" only n An agreement you made (such as mortgage or secured
n Debtor 2 only Car |°a"l)
n Debtor1 and gamer 2 only cl Statutory lien (such as tax lien, mechanic's lien)
cl At least one of the debtors and another a Judgm°m lien fr°m 3 lawsuit
Cl other (inciuding a rightio onset)
Cl check it this claim relates to a
community debt
Date debt was incurred L.ast 4 digits of account number___ ____ , /\ n , 7/)
Add the dollar value of your entries ln Column A on this page. Write that number here: M l §
Oflicial Form 106D Schedule D: Credltors Who Have Clalms Secured by Property page 1 of _

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 14 of 34

Fi|| in this information to identify your case: . § § gm D

B" .
~~ i:.
Debtor1 53" -r&l»" 9 9['%4/ g mm

Fini\ Name Mld¢!le Name LostN mo

Debtor 2

 

(Sp°u$e, if iiiing) Finl Name Mlddlc Name Lut Name

united states aanirruptoy counior ina Moistrict of g -`u¢.`_¢-c¢i

 
  
 

_'.' f",‘ L"{Mr
i» _ .'i . t_l \r’l

i;,i: § Check lf this is an

Case number amendedl fllil'ig

(ir known)

 

 

 

Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possibie. Use Part 1 for creditors with FR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106AIB) and on Schedule G: Executery Contrac¢s and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Credltors Who Have Claims Secured by Property. if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

m List All of ¥our PR|OR|TY Unsecured Claims

 

1. Do y creditors have priority unsecured claims against you?
No. Go to Part 2.
§ Yes.
2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed identify what type of claim it is. if a claim has both priority and nonpriority amcunts, list that claim here and show both priority and

nonpriority amounts As much as possible, list the claims irl alphabetical order according to the creditors name if you have more than two priority
unsecured claims. till out the Continuation Page of Part 1. if more than one creditor holds a particular cialm, list the other creditors in Part 3.

(For an explanation of each type of claim. see the instructions for this form ir_i the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2.1
Last4 digits of account number _ _ _ _ 5 ’ 5 5
priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
city state zlP code n C°"""g°"t
_ El unliquidated
Who incurred the debt? Check one. |-_-l Disputed
§ Debtor1 only
U Debtor 2 only Type of PR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 °"ly § Domestic support obligations
At least one of the debtors and mower § Taxes and certain other debts you owe the government
a check 'f this claim is for a community debt § Claims for death or personal injury while you were
is the claim subject to offset? mt°x“m°d
n No § Other. Specify
§ Yes
2'2 l Last4 digits of account number _ _ _ __ 5 3 5
Pn‘ority Creditol‘s Name
When was the debt incurred?
Number Strsel
As of the date you fiie. the ciaim is: Check all that apply
cl Contingent
city state zip code Cl unliquidated
who incurred the doht? check one. n DisP"f°d

§ Debtor1 only

§ Debtor 2 only

§ Debtor1 and Debtor 2 only

§ At least one of the debtors end another

§ Check if this claim is for a community debt

Type of PR|OR|T¥ unsecured claim:

§ Domestic support obligations

§ Taxes and certain other debts you owe the government
§ Claims for death or personal injury while you were

 

 

 

intoxicated
is the claim subject to offset? § Other. Specify
Cl No
U Yes

 

Oflicia| Form 106E/F Schedule EIF: Credltors Who Have Unsecured Claims page 1 of _L

Case:19-00490-vad ch #:1-1 Filed: 02/11/19 Page 15 of 34
Debtor1 §/QMW 0 5`/(£//¢’

Case number (»'Iknown)
Hrst Name Mlddte Name Lnsl Nal(o

Llst All of Your NONPR|°R|TY Unsecured Clalms

 

3. Do any creditors have nonprlorlty unsecured claims against you?

n No. You have nothing to report in this part. Submit this form to the court with your other schedules
Yes

4. List all of your nonprlority unsecured claims in the alphabetical order of the creditor who holds each clalm. lf a creditor has more than one
. nonpriority unsecured cialm, list the creditor separately for each clalm. For each o|alm iisted. identity what type of claim it ls. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim. list the other creditors in Part 3. lf you have more than three nonpriority unsecured
claims till out the Continuation Page of Part 2

 

3 g””/// §/ W.¢Z/Z j Last4diglts ofaccount number__ __ _ _ s , gp pda l

Nonprlorlly Credilcr‘s Name §
_C When was the debt incurred? d /
77//

   
  

 

 

 

ser ip code Ae of the date you fi|e, the claim is: Check all that apply.
n Contingent
Who incurred the debt? Check one. n unliquidated
tort only n Disputed
m Debtor 2 only
El Debtor1 and Debtor 2 only Type 0f NONPR|OR|TY unsecured claim:
n At least one of the debtors and another [:] Studem loans
n check lf this claim is for a community debt l:l Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims

l§th/eelaim subject to offset? n Debts to pension or profrt M%ng plans, and other similar debts

No n Other. Specify
n Yes

 

~2 / [' 5 La i4dii f t be $ d
'4444… / :4;4:.,:;:‘:4:4' -@ c ~@L~
j i/L/¢”§j §eV€/¢% 654€6

[N;r?’b:;/y/` ;r;.bx£?_//' Ah/ §/j/MZ As of the date you file, the claim is: Check all that apply.
city ’

 

stale ZlP code n Contingent
\St}im:urred the debt? Check one. n U“fi<luidaf€d
oebmr 1 only n Disputed

a Debtor 2 only

n Debtor 1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:

 

n At least one of the debtors and another n Swdent loans
n Obligations arising out of a separation agreement or divorce
cl Check if this claim ls for a community debt that you did not report as priority claims
rs th claim subject to offset? n Debts to pension or p?t/-Warigzplans. and other similar debts
§§ n Other. Specify 7
n Yes

 

4a [!”/')//J/ /)/7(,? M;[/// gd’g d/Last4digitsofaccountnumber

 

 

7?6“/

 

 

Wcmanors£;); ?IZ ?f/ when was the debt lncurred? M_ s
Number Street
Lc?[y'@/! !M%g [)//(/SWHI7 §::Za/JE As of the date you file, the claim' ls: Check ali that apply

n Contingent

Who incurred the debt? Check one. |:] Un"quidated

ebtor 1 only n Disputed
cl Debtor 2 only
cl Debtor1 and Debtor 2 only Type of NONPR|OR|TY unsecured Cla|m!

cl At least one of the debtors and another
n Student loans

n Check if this C|aim 53 for 3 community debt n Obiigations arising out of a separation agreement or divorce
. that you did not report as priority claims
ls tN claim subject w offse!? cl Debts to pension or it-sharig /g,p;l?ns aZ?q/[r othe inter debts
o

El other.s eci
n ¥es p fy

 

 

 

 

Official Form 106E/F Schedule ElF: Credltors Who Have Unsecured Claims page 24 of _/_

Case:19-00490-vad D? #:1-1 Filed: 02/11/19 Page 16 of 34
Debtor1 2 L§NM~SY a/

Ft mo MlddlaName

Case number lirmowm

List All of Your NONPR|0R|TY Unsecured Clalms

 

3. Do an creditors have nonpriorlty unsecured claims against you?

o. You have nothing to report in this part. Submit this form to the court with your other schedules
Yes

4. List all of your nonprlority unsecured claims ln the alphabetical order o`f the creditor who holds each clalm. lf a creditor has more than one
nonpriority unsecured c|alm. list the creditor separately for each claim. For each claim listed identify what type of claim it ls. Do not list claims already
included` rn Part 1. |f more than one creditor holds a particular claim. list the other oreditors' in Part 3. lf you have more than three nonpriorlty unsecured
claims till out the Contlnuatlon Page of Part 2. '

g NQ,. ®CZC\ 36 K\/) C`é 5 Last4 digits of account number_ __ _ _
onp ority realtors Name
l 10 |»-\Omm@ l/\C\ U,Z HD Whenwasthedebtlncurred? Zcz/£

Number Street

 

 

 

 

 

deloner1 Q/t 505z y _
city stare ziP code As of the date you file, the claim is: Check all that apply.
n Contingent

Who incurred the debt? Check one. n Unliquidated

Mbtor 1 only n Dlsputed

n Debtor 2 only

El Debtor1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:

n At least one of the debtors and another [:| Swdem loans

n check if this claim is for a community debt n Obligations arising out of a separation agreement or divorce

that you did not report as priority claims

ls the claim subject to offset? n Debts to pension or profit-sharing plans, and other similar debts
No l:l Other. Specify

m Yes

 

`-2 £)! s ZD (\l gm : Q‘_d t {<l mbeizl!{ SGl/aj@s 4dtgitsofaccountnumber_ _ $M__
onprionry creditors Name n was the debt incurred? _2 ;§¢_ 2

lux?> Hnsl€lL ?rl

 

 

 

 

 

Numbe ber -
l__\ m ¢§ \ 0 S_{:. m: q 3 z l/D As of the date you file, the claim is: Check all that apply.
slate zlP Code n C°nungem
Who 'ncurred the debt? Check one. n Un|lquidal€d
néebtor 1 only n Disputed
D Debtor 2 only
n Debtor1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:
m At least one of the debtors and another n Student loans
El check if this claim lo for a community debt n g:'t'§::°§; :'§':'egp';',‘::; :§::1:';‘:;:°'8°"‘°"‘ °' d"’°'°°
ls t claim subject 10 offse¢? n Debts to pension or reyesth plans, and other similar debts
N° n Other. Specify g
a ¥es
43 | 5/€/(/” / Last4dlglts of account number ___ ___ _ _ Z§d
N°& 1 mcm“ s Name When was the debt lncurred? $
§§ 0,< /, 477 -M

 

Number Stre
S~Q/I'/ jW}A// /77/</ 55 / é / As of the date you file, the claim ls: Check all that apply.

City ` Slete ZlP Code

Who incurred the debt? Check one. n Conungem

n Un|iquidated
ebtor 1 only a Disputed
|:l Debtor 2 only
Cl oevror 1 and Debtor 2 only Type of NoNPRloRlTY unsecured claim:

n At least one of the debtors and another
cl Student loans

n Check if this claim iii 70¥ a Communify debt n Obllgations arising out of a separation agreement or divorce
that you did not report as priority claims
l:l Debts to pension or p sharing plans, and other similar debts

ls the claim subject to offset?
N n Other. Specify M/Y d

0

n Yes

 

 

 

Oflicia| Form 106E/F Schedule EIF: Credltors Who Have Unsecured C|alms page\_g_ of _}

Case:19-00490-vad Do #:1-1 Filed:02/11/19 Page 17 0i34

944#/¢/

mt NrrrtB

Debtor 1

Fim into Mlddle Name

Case number (rrknownl

mYour NONPR|CR|TY Unsecured Claims - Contlnuation Page

 

 

 

§§§§’”1@ [@64
M'D/)L//~/I ///<,,Q¢/ /6/:,;/ ja
"/’j /Wf adea

’ ’ Slate zll>coda

  
      
 

   

my

\;'ll;yncurred the debt? Check one.

Debtor1 only
n Debtor 2 only
n Debtor 1 and Debtor2 only
n At least one of the debtors and another

|Zl check it this claim is for a community debt

:;We¢claim subject to offset?
No

n ¥es

After listing any entries on this page, number them beginning with 4,4, followed,by,4.5, and so forth.

Last 4 digits of account number _

When was the debt incurred? _M

As of the date you file, the claim is: Check all that apply.

n Contingent
n Unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

\:l Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or p lt-sharing plans other imilaljbts
n Olher. Specify

 

$L.zé_

 

 

 

”7/3[@//€ /77*/'/ /§i‘?”"f/ §§
§§L/ 5 Wri@l,zmj+/m /u/»é
` 1341 gao /

City\_j Slale

Who incurred the debt? Check one.

mm 1 only

0 Debtor 2 only
n Debtor1 and Debtor 2 only
n At least one of the debtors and another

l:l Check if this claim is for a community debt

l‘;th/e=lalm subject to offset?
No

cl Yes

Last 4 digits of account number _ _ _ _

When was the debt incurred? Q/D

As of the date you file, the claim is: Check all that apply.

n Conlingant
El unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

l:l Debts to pension or protit/-%a? pl ns, and o er similar debts

Cl orlier. specify f [' 4

$_Z_W_

 

_J j/ZWW/Z§ 60 re

Nonpriority predith Name

gap/ “WWW 5` (’r)i/c’ 7£/
umoer street / f /WZ_, %XQJD

//,M§/‘/M
CllT stale zlP_ Code

Who incurred the debt? Check one.

Mor 1 only

n Debtor 2 only
n Debtor1 and Debtor 2 only
n At least one of the debtors and another

cl Check if this claim is for a community debt

Y,¢lmm subject to offset?
No

n Yes

 

Last 4 digits of account number ___

When was the debt incurred? g D/ Z-»

As of the date you file, the claim is: Check all that apply.

n Contingent
D unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

cl Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debls to pension %rotit-sWF plans, and other imilar debts

n Other. Specifv /W@ ' m é 4

 

Oflicial Form 106E/F

Schedule EIF: Croditors Who Have Unsecured Clalm_s

sM_

 

 

page d of _L

Case:19-00490-vad Dj #:1-1 Filed: 02/11/19 Page 18 of 34
Debtor 1 SOJVO¢‘/ l? 4¢”/¢‘/

Frnt time made mnTe 51 Nnm(

Case number (rrrmwn)

List All of ¥our NoNPRI°R|TY Unsecured Cla|ms

3. Do any creditors have nonpr|orlty unsecured claims against you?
geo You have nothing to report in this part. Submit this form to the court with your other schedules

4. List all of your nonprlority unsecured cialms,ln the alphabetical order of the creditor who holds each clalm. lf`a' creditor has more than one
nonpriority unsecured claim, list the creditor separately for each cialm. For each claim listed identify what type of claim it' ls. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim. list the other creditors in Part 3. |f you have more than three nonprion‘ty unsecured
claims fill out the Continuation Page of Part 2 1 _

 

 

E l[::r\ ap a V\ LA_\/ Last4 digits ofaccount number_ _ _ _ s_@@_

 

 

 

 

Nonpricrity Cr@'jars Name 01
' - ` When was the debt incurred? M_
wa§O ldgv l[)OOO) K
@""` °”'Uis"°°` mo 51050 3
city stare z1p code As of the date you file, the claim is: Check all that apply.
n Contingent

gyncurreu the debt? check one. El unliquidated

Debtor1 only n Disputed
n Debtor 2 only
D Debtor1 and Debtor 2 on1y Type of NONPR|OR|TY unsecured claim:
n At least one of the debtors and another n Swdem loans
cl Check if this claim ls for a community debt cl g:'tiz:g°g; :":i:_‘§p::t;; ::::§r:;°i'g:gmm°"t °' di"°'°e
ls the claim subject to offset? n Debts to pension or prof_rt-sharing plans and o rsimilar debts
n No cl Other. Specify D¥\\\ Y\( DQA A-Q/|z-‘

¥es

 

(

.2 §§ [ `QQ [Z di c § £§3' am l §;2( l 2_1, Last4digits ofaccount number $_CJQ)__

t _
Nonpnomy creditors Name When was the debt incurred? _Z Q/ 2
ZMD 3 mci `1 r/\ 3 l

dam Y\ fix hai mi q 310 g As of the date you file, the claim is: Check all that apply.

 

city sma z|p C°d° n Contingent
Yncurred the debt? Check cne. n Un|iquidafed
Debtor1 only n Disputed

n Debtor2 only l
n Debtor1 and Debtor 2 only Type of NONPR|OR|TY unsecured clalm.

 

n At least one of the debtors and another cl Student loans
n 0in ations arisin out ol a se ration a reement or divorce
n Check if this claim ls for a community debt matgy°u did not r:p°n as prior,i); claims
15 the claim subject to owen cl Debts to pension or profit-sh ring plans and other similar debts
md |'_'l other specify m€ l C’ 51 1
[;l Yes

 

Nonprlority Crediiofs Name

j Zbei-x Wm M\`l C \'\\ Q(\ V'\ )4 1116 YS///Dd/Z'When was the debt incurred?
xvi m § , nj \)//77;/ LLZ/? 5 5 As of the date you filel the claim is: Check all that apply.

Slaie ZlP Coda

4.3 |C\_¥\/ §§ \JC\Y\S]V`!C~| Last4digitsofaccountnumber____ $ §Z)@D

cl Contingent
Cl un11quidated
\:l Disputed

Who incurred the debt? Check one.
Cl Debtor1 only
cl Debtor 2 only

n Debt°"‘ and De°w' 2 °"‘Y Type of NONPR|OR|TY unsecured claim:
n At least one of the debtors and another

 

n Student loans

n check if this claim 15 f°l' a community debt Cl Obligations arising out of a separation agreement or divorce
ls the claim subject to offset? n that you did not report as priority cla1ms l k 3
n N° Debts to pens1on or pmfd-shan g plans. a d other slmrlar debts l

n n Other. Specify md / 04 §
Yes

 

 

 

Off1cial Form 106ElF Schedule ElF: Creditors Who Have Unsecured Claims pagel;/}_ of _L

Case:19-00490-vad

M¢/ 457

#21-1 Filed: 02/11/19 Page 19 Of 34

Case number ilil¢ndwn)

 

(".
Debtor 1 / WW 0
First Mrno Mlddle Name Last bland

List All of Your NONPR|OR|T¥ Unsecured Claims

Yes

claims fill out the Continuatlon Page of Part 2.

13 f grigg/6
°"'" s "“ ncaa/m
%://'/ /€ls}:j# 104 752/6/

State ZlP Code
Who incurred the debt? Check orte.
ebtdr 1 only
n Debtor 2 only
n Debtor1 and Debtor 2 only
n At least one of the debtors and another

cl Check if this claim is for a community debt

|§thy|aim subject to offset?
No
n Yes

3. Do any creditors have nonpriorlty unsecured claims against you?
m No. You have nothing to report in this part. Submit this form to the court with your other schedules

4. List all of your nonpriorlty unsecured claims ln the alphabetical order of the creditor who holds each clalm. lf a creditor has more than one
nonpriority unsecured claim. list the creditor separately for each claim For each claim listed, identify what type of claim it ls. Do not list ciaims already
induced in Part 1. lf more than one creditor holds a particular claim. list the other creditors in Part 3. lf you have more than three nonpriority unsecured

 

Last 4 digits of account number _

When was the debt incurred? g d/ z

As of the date you file, the claim is: Check all that apply.

a Contingent
lI| unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

\:l Obligations arising out of a separation agreement or divorce
that you did not reportas priority claims

n Debts to pension or prot'lt»?@@' g plans. and other similar debts
cl Other. Specify

 

 

 

 

V draw ¢572“4/

WSW 221/ J// WM/

 

Last 4 digits of account number

When was the debt incurred? Z¢Z Z §

As of the date you file, the claim is: Check all that apply.

 

i_@:

 

 

 

 

Who incurred the debt? Check one.

cl Debtor1 only

m Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

is the claim subject to offset?
cl No
m Yes

 

State ZlP Code n C°nungem
Who incurred the debt? Check one. n U\`\li¢iuidaf€d
n Debtor1 only n D‘sp“ted
n Debtor 2 only
n Debtor1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n At least one of the debtors end another n Student loans
n l:l Obligations arising out of a separation agreement or divorce
Check if this claim is for a community debt mai you did nor rep°ri as ir,ri¢,riiy claims
is the claim subject to offset? a Debts to pension or profit-shari plansl and other similar debts
n No n Other. Specifv 67 0/
n Yes
/Z / ( §g/)[) Méé Last4 digits of account number _ _ _ /5 0
Nonpriori reditors Name 0 $____-
j/ 2 /7/ é/ When was the debt incurred?
/j/ Z Al//?
Num street ’ ,7
City . //(‘0” W€.;’ Q:-F:Z;‘Jey ' As of the date you file, the claim is: Check all that apply.

n Contingerlt
D unliquidated
D Dlsputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

m Deth to pension or prof t- jjan plans. (i'r?id other similar debts
n Other. Specify

 

 

 

Ofi`lcial Form 1OSEIF

Schedule ElF: Credltors Who Have Unsecured Clalms

pageir_ of _L

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 20 of 34

Debtor1 §\Me" 9 gw/W/ Case number (irkmwn)

l>'lrst paine Mlddte Name Lesl Nard

List All of Your NoN|*Rl°R|TY Unsecured claims

 

3. Do any creditors have nonpriorlty unsecured claims against you?

l:\ No. You have nothing to report in this part. Submit this form to the court with your other schedules
Yes

4. List all of your nonpriority unsecured claims ln the alphabetical order of the creditor who holds each claim. |f a»credltor has more than one
nonpriority unsecured clalm, list the creditor separately for each clalm. For each claim llsted, identity what type of claim it ls. Do not list claims already

included in Pan 1. if more than one creditor holds a particular ciai_m, list the other creditors in Part 3 li you have more than three nonpriority unsecured
claims ill out the Continuation Page of Part 2. v f , ,

:.Z(FL %€m/ EA g/gD/YL %I/{£/ Last4 digits of account number_ _ _ ___
}L°ZCU:;§SM:{ 467 / When was the debt incurred? g A/ 2

 

 

 

Number Street
§i`/Dm< /Z)// 65 6"7// 7 .
stale zip code As of the date you file, the claim ls: Check all that apply.
cl Contingent
Who incurred the debt? Check one, n unliquidated
Wtor 1 only n Disputed
El Debtor2 only
El Debtor1 and oeblor 2 only Type of NCNPRlORlTY unsecured claim:
l:l At least one of the debtors and another l:l Student loans
n Check ll this claim ls for a community dam n Obligetions arising outoi a separation agreement or divorce

that you did not report as priority claims

l;'th},¢§im subject to offset? El Debts to pension or proflt;hjn _/)lanz%mmllar debts
No l:l Other. Specify%

n Yes

.2 l j Z€M § /)//Zgél// j H/j/`/j /7 Last4 digits of account number ___ $_zdL-_
Nonpnoniy creditors Name / When was the debt incurred? M_
/// 561/l/¢?///Z'/1/ /Y

/mb/; A/s//)q / Mf gi?/? As of the date you file, the claim is: Check all thatapply.

 

 

 

C‘i¥ slate ziP code n C°mjngent
Who incurred the debt? Check one. n U"'l¢luidaied
n Debtor1 only n Dispuled

cl Debtor 2 only

cl laswa and Debtor 2 only Type of NONPR|OR|TY unsecured claim:

 

 

 

n At least one of the debtors and another cl Student loans
a Obii ations arisin outof a se arationa reement or divorce

l:l Check if this claim is for a community debt matzen did not rgport as priorli:ty claimsg

ls the claim subject l° offset? a Debts to pension or p rofit- haring/gte and other similar debts

n No n Other. Specify < 257/7

Cl Yes l

z/

4.3 , ' // "\
_| H,M/G/»¢ //(M A @é Last4 digits ofaccount number __ _ __ £: )

Nonpriority Creditors Nani'e ' s

/Zp/ § l/l/UOA/`Aq;fj% %l/é When was the debt incurred? ‘_//_ fig
453 W §/A/V ,W£ g€/J As of the date you file, the claim is: Check all that apply.

State iP Code
cl Contlngent

thurred the debt? Checkone. l:l unr .d ted
l L|l B
Debtor 1 only m Diquuled

l:l Debtor 2 only

n D°b*°' 1 and Deb'°' 2 °"'y Type of NONPR|OR|TY unsecured claim:
n At least one of the debtors and another
n Student loans

n check " this claim 55 f°" a community debt n Obligations arising out of a separation agreement or divorce
is t laim subject to offset? that you did not report as priority claims

N° n Debts to pension or prot“_it-s aring plans nd other similar debts
n Other Specify {-5
m Ves

Offlcial Form 106ElF Schedule ElF: Creditors Who Have Unsecured Claims page 1 of _/_

 

 

 

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 21 of 34 -

0 sought/j

Middie Name
Llst All of Your NONPR|CR|TY Unsecured Claims

Debtor 1 Case number lillmcwn)

F| BMC

 

3. Do any creditors have nonpriority unsecured claims against you?

n No. You have nothing to report irl this part. Submit this form to the court with your other schedules
Yes

4. List all of your nonpriorlty unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one

nonpriority unsecured clalm, list the creditor separately for each claim For each claim llsted, identify what type of claim lt is. Do not list claims already

claims till out the Continuation Page of Part 2.

Il myl§§§%) /[”¢) /¢Z/¢j/§A”W

/' 0 534 755
A// zzz/é

Number Street
State ZlP Code

4@/// m bz/€

ltv .
Who incurred the debt? Check one.
Cl Debtor 1 only
n Debtor 2 only

n Debtor1 and Debtor 2 only
n At least one of the debtors and another

Cl Check if this claim ls for a community debt

ls the claim subject to offset?
C| Nc
n ¥es

included ln Part 1. |f more than one creditor holds a particular claim. list the other creditors in Part 3. |f you have more than three nonpriority unsecured

 

Last 4 digits of account number _ ___

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
n Unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

m Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pensithit:thing plans, and other similar debts
n Other. Speciiy

 

 

2 '/MS/,.e/§//M §
77a 5/# //M§MW /@/ §/g /M
l'/l//'i'A/l//j:;¢ §§ Z§’

Slaie

Wncurred the debt? Check one.
Debtor1 only

cl Debtor 2 only

n Debtor1 and Debtor 2 only

El At least one or the debtch and another

El check ii this claim ls for a community debt

ls t claim subject to offset?

Last 4 digits of account number
When was the debt incurred?

Ae of the date you file, the claim is: Check all that apply.

n Contingent
Cl unliquidated
n Disputed

Type of NGNPR|OR|TY unsecured claim:

cl Student loans

n Obligations arising out of a separation agreementh divorce
that you did not report as priority claims

n Debts te pension or profit-she g plans, and other si 'ardebts
n Other. Specify l 5 /)

 

 

 

priority Creditor’s Name

LMQDS 71%/73/£@ t/ <j/
74 - Zjé/

ltv cadc

Who incurred the debt? Check cne.

l:l Debtor1 only

n Debtor 2 only

El Debtor1 and Debtor 2 only

a At least one of the debtors and another

El check if this claim lc for a community debt

ls the claim subject to offset?
n No
cl Yes

 

Ne
n ¥es
43 | //7/ 7 0 /4 Last4digits of account number _ _ _ s 522

MMWhen was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
[:l Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or pror?j%ri/p¢£ plans and other similar debts
D Other. Specify

 

 

 

Ofiicia| Form 106ElF

Schedule ElF: Creditors Who Have Unsecured Clalrns

pagei of L

Case:19-00490-vad Do #:1-1 Filed: 02/11/19 Page 22 of 34
o j
Debtor 1 !4"¢"1/ D 41 M 1¢/

R Name Mt'ddlo Name act Nark

Case number (,rlmewnl

Your NONFR|QR|TY Unsecured claims - Centinuation Fage

 

After listing any entries on this page, number them beginningwlthd.dl, followed by dtS:,jand.,so forth. l

A[/[' Z:pr'/['/ [’) [Y€ %AM) Last4 digits of account number _ __ _ _ s jt MDA@

Nonpriority l

#6,/’5§ /s,L t s mN?/aQ//OL/(;I/€/Z§ M when was the debt incurred? gp //
::?-cj/£'/s /} 0 / *7:[/ Q£{J g §/ As of the date you file, the claim is: Che_ck all that apply.

state zlP code El contingent

El unilquldated
Who incurred the debt? Check one. n Dlsputed

 

 

 

 

Debtor1 only
El Debtor2 only Type of NONPR|OR|TY unsecured claim:
n Debtor1 and Debtor 2 only

n Student loans
cl At least one of the debtors and another

n Obligations arising out of a separation agreement er divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans. and other similar debts
;mylaim subject to offset? E| other Spec,{y 10 //`
No

Cl Check if this claim is for a community debt

cl Yes

 

 

 

 

Last4 digits of account number _ _ _ __ 5
Nonpriority Creditors Name
When was the debt incurred?
Number Street .
As of the date you file, the claim is: Check all that apply.
¢ily slate zlP Code n Contingent
U unliquidated
Who incurred the debt? Check one. [:] mspqu
n Debtor1 only
El Debtor 2 only Type of NONPR|OR|TY unsecured claim:

n Debtor1 and Debtor 2 only

n Student loans
n At least one cf the debtors and another

cl Obiigations arising outh a separation agreement or divorce that
you did not report as priority claims

cl Debis to pension cr profit-sharing plans_ and other similar debts
ls the claim subject to offset? C| owen Specifv
n Nc

n Yes

n Check if this claim is for a community debt

 

Last 4 digits of account number

 

Nonpriolity Creditors Name
When was the debt incurred?

 

 

Number Street . . .
As of the date you file, the claim is: Check all that apply.
City Siaia ZlP Code n Contingent
n Unliquidated
Who incurred the debt? Check orte. n mspqu
n Debtor1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:

El Debtor1 and Debtor 2 only

n Student loans
m At least one of the debtors and another

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and enter similar debts

is the claim subject to offset? a Other. Specify

Cl No
cl Yes

n Check if this claim ls for a community debt

 

 

 

is

Ofticial Form 106E/F Schedule ElF: Crediters Who Have Unsecured Claims page

Add the Amounts for Each Type of Unsecured claim

§

Debtor 1

Case:19-00490-vad Do #:1-1 Filed:O2/11/19 Page 23 of 34

 

wr..m? ties

Case number (imiawn)

s. Total the amounts of certain types of unsecured claims. Thls information ls for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured clalm.

l
i
l
l
i
§
l

\

Total claims
from Part1

l .

6a Domestlc support obligations

6b. Taxes and certain other debts you owe the
government

6c. Clalms for death or personal injury while you were
intoxicated

' 6d. 0ther. Add all other priority unsecured claims.

Total claims
from Part 2 7

Write that amount here.

Se. Tota|. Add lines 63 through 6d.

6f. Student loans

69. Obllgatlons arising out of a separation agreement
or divorce that you did not report as priority
claims

6h. Debts to pension or profit-sharing plans, and other
similar debts

6l. Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 61.

6a.

6b.

60.

6d.

6€.

6f.

69.

6h.

6l.

6].

Total claim

0

s 0
S @

+$ 0

 

 

'D

 

 

Total claim

s_@__
s 0

,.$ j/,@W. w

 

 

5545’%'”9

 

 

 

 

Ofticia| Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Clalms

page

Fof

\

Debtor 1

Flrft Name

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 24 of 34
FW 9

Middie Name

sw/¢//

Last Na life

Case number winownl

List others to Bo Notified About a Debt That ¥ou Alroady Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, lf a collection agency ls trying to collect from you for a debt you owe to someone olse, list the original creditor In Parts 1 or
2, then list the collection agency here. Similsrly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
addition | creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not f|ll out or submit this page.

»e/Z/`ma//M /;vzwa' 5
Z:Z//A stig/'z//Z/// CZ/l/€/ #/IJ

Number

 

§ii./i/nn JM wo z/zW

 

On which entry in Part1 or Part 2 did you list the original creditor?

Line q / of (Check one): Cl Part 1: Creditors with Priolity Unsecured Claims
%L g pf 1 E/Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

stare zlP code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): |:l Part 1: Creditors with Priority Unsecured Claims
N“"‘°°' S"°e‘ El Part 21 Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): U Part 1: Creditors with Priority Unsecured Claims
unmer street Cl Part 2: Creditors with Nonpriority Unsecured
Claims
_ Last 4 digits of account number _ _ _
city sl§_t_e zlP code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): U Part 1: Creditors with Priority Unsecured Claims
Nurnber street Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ __ __ ___
city state zlP code
On which entry ln Part 1 or Part 2 did you list the original crodltor?
Name
Line _ of (Check one): El Part 1: Creditors with Priority Unsecured Claims
N""“"" S‘“’°‘ El Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_ __ __ _
city si_e_ig zip code
On which entry in Part 1 or Part 2 did you list the original creditcr?
N8i1'iB
Line of (Check one): cl Part 1: Creditors with Priority Unsecured Claims
N“"“’°' S"°°‘ El Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ ___ _ _
city state ziP code
Name On which entry |n Part 1 or Part 2 did you list the original creditor?
Line __ of (Check one): El Part 1 : Creditors with Priority Unsecured Claims
N be s
um r mt El Part 2: Creditors with Nonpriority Unsecured
Claims
am ZlP code Last 4 digits of account number_ _ _ _

 

Cily

 

Ofticiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Clalms page _ of _

 

Casé:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 25 oi 34

Fi|| in this information to identify your case:

Spehce t Sllp@w if

FintWame Middie Name Name

Debtor 2
(Spouse if liiing) Fim Name wade Name timm-me

United States Bankruptcy Courtfor the: W'&i¢"*\ Disirict of g ¢`Mj¢q

Casen b " . . .
urknow:;n er n Check if this rs an

amended filing

 

 

 

 

Offlcia| Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as poss|b|e. if two married people are filing together, both are equally responsible for supplying correct
infonnation. |f more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do u have any executory contracts or unexpired |eases?
No. Check this box and file this form with the court with your other schedules. ¥ou have nothing else to report on this form.
n ¥es. Fiil in all of the information below even if the contracts or leases are listed on Schedule A/B: Pmperty(Ofticial Form 106AlB).

2. List separately each person or company with whom you have the contractor lease. Then state what each contractor lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease ` ,- State what the contract or lease ls for `

 

Name

 

Number Street

 

City Slate Z|P Code

 

 

Name

 

Number Street

 

Ciy Slate Z|P Code

 

Name

 

Number Street

 

city state zlP code
2.4

 

Name

 

Number Street

 

City State ZlP Code

iii

n Name

 

 

Number Street

 

 

City State ZlP Code

Ofticia| Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of _

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 26 oi 34

Fil| in this information to identify your case?

9 §{,%§

Mlddie Name
De btor 2

 

(Spouse. if filing) Fln'l Name Mieixi¢ Name LauNitmo

United States Bankruptcy Court for the: f al &$l°"" Disirict of g l O<[j`é er

Case number
(if known)

  

 

 

Ei check if this is an
amended filing

Officia| Form 106H
Schedule H: Your Codebtors lens

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. if more space ls needed, copy the Add|tional Page, flli lt out,

and number the entries in the boxes on the left. Attach the Additiona| Page to this page. On the top of any Addltlona| Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (|f you are liiing a joint case, do not list either spouse as a codebtor.)
Cl N
axes ~

2. Wlthin the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona. Ca|ifomia, |daho, Louisiana. Nevada, New Mexico, Puelto Rico. Texas. Washington, and V\nsconsin.)

S)lo. Go to line 3.
Ye

s. Did your spouse, former spouse. or legal equivalent live with you at the time?

  

Cl N
M¥e:. in which community stale or territory did you live?

\/\ii//(ei`a éh€r)!np//d

Name mr 'spouse. fenner spouse, or legal eqijvalent

iD l\ln@\ltll§ Ai/€

. Fill in the name and current address of that person.

 

Number Streel
__Lcm§mci fi/TL ¢/Y¢l/j
city d siaie zlP Code

 

3. |n Coiumn 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Offic|al Form 1 USD), Schedule E/F (Off|ciai Form 106EIF), or Schedule G (Offic|ai Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Coiumn 2.

Coiumn 1: Your codebtor Column 2: The creditor to whom you owe the debt

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check all schedules that appiy:
3.1 t /i l ' , C}
Nm\IKU& §l“£,p}'\e{( El scheduleD,iine__
t bill [ ANAQU§ M ga El schedule E/F. llne'___
Number S”°°_' D Schedule G, line
iftl/t§il/\Ci i/YFY z/Z_yj/?
Cif'Y/' ....…...W j 5wa ZlP C°d°
3.2
L_.l Schedule D. line
Name _
El Schedule E/F, line__
Number S"w Cl schedule G. line
City State ZlP Code
3.3
El Schedule Dl line
Name
l:l Schedule ElF, line ____
Number Sf'@°\ |:l Schedule G, line
W_Cliy slate t zlP code

 

 

 

 

Oflicial Form 106H Schedule H: Your Codebtors page 1 of _L

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 27 oi 34

.r»»v_-

Fill in this information to identify your casc:
-. ~ ii_ E D
Debtor1 (§U/ mpd _ t'€)'l/FA£Z

LestNam e

Fir' Name

 

 

 

Debtor1 _ Zlil‘.l FEB' l l ilii lil=' 92 '

(Spouse, if lillng) Flm Name Ml¢lde mm Last mine

United Stetes Bankruptcy Court for the: M{'-¢"" District of /¢l ld:`j{,' ‘ :‘:l M;r§»{; _ i_ i"l. ' “" ` » `
I'\ N » »

Case number Check if this is: ll! § grid 1

 

(lf known)

DAn amended filing

m A supplement showing post-petition
chapter 13 income as of the following date:

 

 

Ofiicial Form B 6| m
Schedule l: ¥our income - 1213

 

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct inforrnatlon. |f you are married and not filing jointly, and your spouse is living with you, lnclude information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. lt more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

masonite Ernployrnent

1 Flll in your employment

 

information. Debtor1 Debtor 2 or non-filing spouse
if you have more than onejob.

attach a separate page with

information about additional E'"P'°¥"‘°"¢ mm Empl°yed L__| Empl°ved

employers n Not employed m Not employed

include part-time. seasonai. or
self-employed work.

 

Oc¢:u ation
Occupation may include student p

or homemaker, if it applies Emp|°yer's name d£ UM
Employer's address /%Z'? /MZ MJL//

Number st?eet Number street

 

 

//»5/¢ /Wf %YY/Z

City " Slale Zl§CodB City Siato ZlP Code

liow long employed there?

Give Details About Monthly lncomo

Estimate monthly income as of the date you file this fonn. lf you have nothing to report for any line write $0 in the space. include your non_f ling
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person en the lines

below. lf you need more space, attach a separate sheet to this form.

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
2. List monthly gross wages, saiary. and commissions (before all payroll 4/ L/%j
deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 0 s
3. Estimate and list monthly overtime pay. 3 + $____ Z + $

 

4, Ca|cu|ate gross income. Add line 2 + line 3. 4. $é; g 75¥ $

Ofliciai Form B 6| Schedule l: ¥our income ' page 1

 

 

 

 

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 28 oi 34

Debtor 1 </;g["(#¢"f D SM&// Case number prmmi

Firi Name Middle Name le Nem/

For Debtor 1 For Debtor 2 or
-filln s

rl
Copy line 4 here ............................................................................................ ') 4. $_;__M g 5“5¢

j 5. List ali payroll deductions:

$_____

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax. Medicare, and Social Security deductions 5e. $ 7 ZQ/ $
5b. Mandatory contributions for retirement plans 5b. $ ~"" $
5c. Voluntary contributions for retirement plans 50. $ `K’Z.~ 09 $
5d. Required repayments of retirement fund loans 5d. $ ""’ $
5e. insurance 5e. $ 7 7 2 $
5f. Domestlc support obligations 5f. $ " $
Sg. Union dues Sg. $ h 5
7 5h. Other deductions. Specify: 5h. + 5 + $
6. Add the payroll deductions. Add lines 53 + 5b + 5c + 5d + 5e +51+ Sg +5h. 6. $ /g\§ X $
7. Calcu|ete total monthly take-home pay. Subtract line _6 from line 4. 7. $_;M $
t "
a. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts. ordinary and necessary business expenses. and the total s ' $
monthly net income. Ba. _
8b. lnterest and dividends 8b. $ $
8c, Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include aiimony. spousal support, child suppoit, maintenance divorce $ '_” s
settlement and property settlement 8c. ___
Bd. Unemployrnent compensation 8d. $_____ $
8e. Socla| Security 8c. $ " $
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance ...--
that you reoeive, such as food stamps (benetits under the Supplemental $ $
Nulrition Assistance Program) or housing subsidies
Specify: 8f.
Bg. Penslon or retirement income 89. $ ‘ $
Bh. Other monthly income. Specify: 8h. + $ "" + $
9_ Add ali other income. Add lines aa + ab + so + ed + se + af +ag + an 9. 5 D. U) s
10. Caiculate monthly income. Add line 7 + line 9. 555/2 §§ + |_
Add the entries in line 10 for Debtor:i and Debtor 2 or non-filing spouse. 10. $ ' 5 l-

 

 

 

 

 

11. State ali other regular contributions to the expenses that you list in Schedule J.
' include contributions from an unmarried partner. members of your household. your dependenls. your roommates. and

 

other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J. @ 0
Specify: 11. '|' $__Q‘___
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. j 9 5
l 12 $ '

Write that amount on the Summary of Schedules and Sfatislical Summary of Certain Liabilities and Relared Data, if it applies
Com bined
monthly income

13. D§y/o(expect an increase or decrease within the year after you file this fonn?
No.

 

m ¥es. Explain:

 

 

Official Form B 6| Schedule l: Your income page 2

 

 

\\

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 29 of 34

Fill in this information to identify your case: §§ g gm E D

benton _ » 49 ()`[“"“'*/"’ Check if this is:

lui NM¢

gAnamended;ipnurEB l l ali lie 92

 

(Spouse_ it tillng) Fim mm um umw

A su lement,§ t ltlo c a r1
United States Bankn.lptcy Court for the: Dism°l °f m expe}r)'l:esl'§ 8§8'5 g}ogl$*l ,®F?§%“ 'qu:‘§;e>; 33

_____-rugs !‘_\r -
Casa"umb°' MM/Do/vav m »i s l`,;,'.i'*"'lll

 

(lr mm

 

m A separate filing for Debtor 2 because Debtor 2
maintains a separate household

 

Ofliciai Form B 6J
Schedule J: Your Expenses 12/13

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
inforrnation. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

mccann ¥our l-iousehoid

1. is this a joint case?

 

No. Go to line 2.
m Yes. Does Debtor 2 live in a separate househo|d?

ENo

EYes. Debtor 2 must tile a separate Schedule J.

 

 

 

 

2. Do you have dependents? g N
Dependent'e relationship to Dependent's Does dependent live
DO not list Debtor ‘l and Eés F||| out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent .......................... E
Do not state the dependentsl Wl pa No
names. Ms

615/9 /1/53¢‘[/4”/0/ EN°
j§p / dow

Y§S'

|:| No
m Yes
n No
m Yes

 

 

3. Do your expenses include m /
expenses of people other than
. xe"r§s!!and v9!r_éensa§@§3~_,,l:l_)f?i

Estimate ¥our Ongoing Monthiy Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value

 

of such assistance and have included it on Schedule I: Your Income (Offlclal Form B 6l.) Y°"r °lPGl\$°S
4. The rental or home ownership expenses for your residence. include first mortgage payments and ____M
any rent for the ground or |ot. 4. 5 '
if not included in line 4:
4a. Real estate taxes 4a. $ v
4b. Property. homeowners or renter's insurance 4b. $ &E§
4c. Home maintenanoe. repair. and upkeep expenses 4c. $ __
4d. Homeowner's association or condominium dues 4d. $ '__'

`Oflicia| Form B 6J Schedule J: Your Expenses , page 1

Case:19-00490-vad Doc #:1-1 Filed: 02/11/19 Page 30 of 34

 

Debtor 1 ` ¢'.~Z»‘" Case number qirunowm
Fi Name MiddteN mo xi a '
Your expenses
5. Additlonal mortgage payments for your residence. such as home equity loans s. $
6. Uti|ities:

sa. Eiectricity. heat, natural gas sa. $_&Y_

5b. Water, sewer, garbage collection 6b. $ f 5%§

6c. Teiephone, cell phone. intemet. satellite, and cable services ec. $ §§ ' 80
f

 

6d. Other. Specify: 6d. $___
7. Food and housekeeping supplies 7. $_\’{_L__
8. Chiidcare and chlidren's education costs a. $

9. Cioth|ng, laundry, and dry cleaning ' 9. $ g ;i 2
10. Personai care products and services 10. $ § l D

11. Medlcal and dental expenses 11. $M
12. Transportation. include gas. maintenance, bus or train fare. s ZDD

Do not include car payments. 12.
13. Entertainment, ciubs, recreation. newspapers, magazines, and books 13. $ g z l §
14. Charltable contributions and religious donations 14. $
15. lnsurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

 

 

15a. Life insurance 15a $ '_"`
15b. Health insurance 15b. $ `_
15c. Vehicie insurance 15<:. $ 41 § §
15d. Other insurance. Specify: 15d. 5 "`

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20. ' $ _/-
Specify: 16.

 

17. installment or lease payments:

17a. Car payments for Vehicie 1 17a. $__L:ll__
$_5&0__

 

 

17h. Car payments for Vehicie 2 17b.
11c. Other. Specify: 11¢. $
17d. Other. Specify: 17a. $

 

18. your payments of aiimony. maintenance, and support that you did not report as deducted

 

from your pay on line 5, Schedule I, Your Im:ome (Offlcia| Form B 6l). 13' $-__-__-_

19. Other payments you make to support others who do not live with you.
,_,_

Specify: 19. $
20. Other real property expenses not included ln lines 4 or 5 of this form or on Schedule I: your income.

acs. Mortgages on other properly zoa. $

zub. Real estate taxes zob. $

zac. Property, homeowners or renter's insurance zoc. $ " `

20d. Mainlenance. repair. and upkeep expenses zod. $

zoe. Homeowner association or condominium dues zoe. $ f\-

 

Ofiicial Form B 6.i Schedule J: Your Expenses page 2

CaS€ZlQ-OO490-8Wd DOC #Zl-l

center 1 %£el&# mm,ge ¢S`L.ML'/

21. Other. Specify:

Filed: 02/11/19 Page 31 of 34

Case number tamm

21. +$

 

 

22. Your monthly expenses. Add lines 4 through 21.
The result is your monthly expenses

23. Caiculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule l.

23b. Copy your monthly expenses from line 22 above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

 

22 5 swiss

 

 

 

345/iac
23*’~ -$M

23c. y $_/‘Q_LZ_/ 6 7

 

 

 

 

24. Do you expect an increase or decrease in your expenses within the year alter you file this form?

For example. do you expect to finish paying for your car loan within the year or do you expect your

guise payment to increase or decrease because of a modification to the terms of your mortgage?

o.
DYES- Explain here:

Ofliciai Form B 6J

Schedule J: Your Expenses

page 3

Case:19-00490-vad DOC #:1-1 Filed: 02/11/19 Page 32 of 34

Fiie§@

D°"‘°" 'N.;.‘°"/ g " m'¢'{m./” Zlil9l"`ES l i iii ii;l`i 93

Debtor 2
(SpCuS€, if iiiirlg) Flut Name Mlddle Name Last Name

Fil| in this information to identify your case:

 

    

 

 

§ »
Uniied States Bankruptcy Court for the:c") "1 Disirici of /1' o€y¢, h

casem.mber ' ‘ Cl check if this is an
""m°“'“‘ amended filing

Oflicial Form 1068um
Summary of ¥our Assets and Liabiiities and Certain Statistical information 12115
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct

lnformatlon. Flil out all of your schedules flrst; then complete the information on this fonn. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

 

¥our assets
Value of what you own
1. Schedule A/B.' Property (Oflicial Form 106AIB) 0
1a. Copy line 55, Total real estate, from Schedule A/B ........... 5
1b. Copy line 62, Tolal personal property, from Schedule A/B ............................................................................................... s D

 

 

 

1c. Copy line 63. Total of all property on ScheduIeA/B ....................................... $ z % 250 , £Z?
Summarize Your L|abilities /

 

 

 

Your liabilities
Amount you owe

2. Schedule D.' Creditors Who Have Claims Secured by Property (Oflicial Form 1060) j D 00
s _L)____

2a. Copy the total you listed in Coiumn A, Amount ofclaim, at the bottom of the last page of Part 1 of Schedule D ............

3. Schedule E/F: Creditors Who Have Unsecured Claims (Oflicial Form 106E/F) $ 'C 2

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ 4
+ 3 504 S€& d

Your total liabilities $ iQ i¢M£[ '€D

3b. Copy the total claims from Pari2 (nonpriority unsecured claims) from line 6] of Schedule E/F .......................................

 

 

 

 

Summarize Your income and Expenses

 

4. Schedule I: Your/ncome (Oflicia| Form 106|) / z/? _(j‘/é
Copy your combined monthly income from line 12 of Schedule I $

5. Schedule J: Your Expenses (Ofliciai Form 106J) 5 5 ,jj
Copy your monthly expenses from line 220 of Schedule J ................................... $ '

 

 

 

 

Oflicial Form 1068um Summary of Your Assets and Llabl||tles and Certaln Statistlca| information page 1 of 2

Case:19-00490-vad DOC #:1-1 Filed: 02/11/19 Page 33 of 34

/` j
Debtor 1 ` '“/ .""` Case number (irlm<m)

 

t me Middle Name act e

Part 4: Ansvver Theso Questions for Administrative and Statlstioai Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

th. You have nothing to report on this part ot the form. Check this box and submit this form to the court with your other schedules.
Yes

 

7. What kind of debt do you have?

moor debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.ll 11 U.S.C. § 101(8). Fill outlines 8-99 for statistical purposes 28 U.S.C. § 159.

n your debts are not primarily consumer debts. Vou have nothing to report on this pari of the form. Check this box and submit
this form to the court with your other schedules

 

 

s. From the Slatement of Your Current Monthly lncome: Copy your total current monthly income from Oflicial Oé/V
Form 122A-1 Line 11; OR, Form 1225 Line 11; OR, Fcnn 122C-1 Line 14. 5 f

 

 

 

 

9. Copy the following special categories of claims from Part 4, fine 6 of Schedule E/F:

Tofal claim

 

From Part 4 on Schedule E{I=, copy the following:

9a. Domestic support obligations (Copy line 6a.) 5

9b. Taxes and certain other debts you owe the govemment. (Copy line 6b.) S_[;_
9c. Claims for death or personal injury while you were intoxicated (Copy line 6c.) 5 0

9d. Student loans. (Copy line 6f.) S 0

9e. Obligations arising out of a separation agreement or divorce that you did not report as 5 D

priority claims. (Copy line 69.)

9f. Debts to pension or prolit~sharing plans, and other similar debts. (Copy line 6h.) + $_L
gg. Total. Add lines 93 through Qf. s !Yy l !/D

 

 

 

 

 

 

 

 

Oliicial Form 1OSSum Summary of Your Assets and Llabllitles and Certaln Statistlca| information page 2 of 2

Case:19-00490-vad DOC #:1-1 Filed: 02/11/19 Page 34 of 34

 

 

 
 

 

li`iX’~j y
Fill in this information to identify your case: i‘"' § E D
§ s‘:cxv
MiddieNarno Lnthrn. 28!9 FEB l ' gin |.i . 813
(Spouse, iitiling) Fm mm waste Name miriam
cf t -.¢` raise ii '
United States Bankruptcy Court for the: q Vh Dislricl of Z'¢ ' ‘ 'f“‘| Li:j"'¢‘ ".`3" '
-u.
Case number ‘5?;‘ §;

tit knawn)

 

El Check ifthis is an

 

amended nling vi

Official Form 106Dec
Deciaration About an individual Debtor’s Schedules we

 

 

lf two married people are filing together, both are equally responsible for supplying correct lnformatlon.

You must file this form whenever you file bankruptcy schedules or amended schedules. Maklng a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341l 1519, and 3571.

Dld you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

No
n Yes. Name of person . Attach Bankruptcy Peiition Preparer's Notice, Declarali`on, and
Signature (Ofiicial Form 119).

Under penalty of perjury, l declare that| have read the summary and schedules filed with this declaration and
that they are true and correct.

x //4,./ x

 

 

Sign turooiDebtor1’ Signature ofDebtorZ §
. §
Date al O{ 301 Date____ §
MM/ DD l YYYv MMl DDl YYYV §

 

thcia| Form 1OGDec Deciaratlon About an individual Debtor‘s Schedules

